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|N THE CiRCU|T COURT FOR MONTGO|\/|ERY COUNTY, MARYLAND

JONATHAN S. SHURBERG, P.C.,
8720 Georgia Avenue

Suite 906
Siiver Spring, i\/iD 20910

P|aintiff,

V.

,MINNESOTA LAVVYERS MUTUAL
. iNSURANCE COMPANY,

333 South Seven_th Street

i\/|inneapolis, i\/lD 55402

SERVE: '

Eiizabeth P. Sammis

interim i\/|aryland lnsurance
,C'ommissioner

200 St. Pau| P|ace, Suite 2700

Ba|timore, l\/iD 21202-2272

Defendant.

Civi| Action No.

 

   

COIV|PLA|`NT FOR DECLARATORY AND |NJUNCTlVE REL|EF

CON|ES NOVV the Plaintiff, JONATH'/-\N S. SHURBERG, P.C., by undersigned

counsel, Jonathan S. Shurberg, and pursuant to i\/|d. Cts. & Jud. Proc. Code Ann_, §§ 3-
` 401 et seq., brings this action against Defendant i\/iiNNESOTA LAV\/YERS |\/iUTUAL

(nerein'after, “i\/|Li\/|”) and for its cause of action states as foilows:

Jurisdiction and Parties

1.

Piaintiff JONATHAN S. SHURBERG, P.C. is a corporation duly registered

underthe iaws ofthe State of |\/|ary|and, With a principai place of business in Montgomery

County, i\/iary|and.
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Upon information and beiief, Defendant i\/|iNNESOTA LAVVYERS MUTUAL

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is an insurance company licensed to do business in the State of l\/lary|and.

3. This court has personaljurisdiction overthe Defendant pursuant to l\/ldu Cts.
& Jud. Proc. Code Ann., § 8-102 et seq.
4. \/enue is appropriate in l\/lontgo_mery County pursuant to l\/ld. Cts. & Jud.
Proc. Code Ann., § 6-201 et seq., as the lawsuit referenced herein is pending in
l\/lontgomery County, the actions giving rise to this lawsuit occurred in l\/lontgomery
County-,` and Plaintiff"s principal place of business is in l\/lontgomery County.
facts
5. v Plaintiff realleges 1111 1 through 4 as if fully set forth herein.
6.` l For approximately five (5) years beginning in 2004, Plaintiff was covered by
a policy of professional liability insurance coverage with the Defendant
7. b ' ln approximately l\/lay, 2009, Plaintiff was notified by a letter from an
attorney representing a former client, Rosa de Jesus Peralta (hereinafter, “PERALTA”)
that he was bringing a claim against Plaintiff._
v 8 Plaintiff immediately provided notice of the claim that had been received to
l Defendant l\/|Ll\/l.
z 9. Within one day of said notice, Defendant l\/lLl\/l elected to deny the claim.
10. Subsequently, on August13,2009, PERALTA filed suit against Plaintiff for
negligence, in Civil Action 318695. Plaintiff was served with the summons and complaint

on or about September 19, 2009.

11. _Plaintiff provided notice of the lawsuit on or about October 8, 2009 to

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Defendant l\/ll_l\/l, demanding that it provide a defense to the PERALTA lawsuit

12. Defendant l\/lLl\/l, apparently maintaining its position, did not respond to
Plaintiff’s October 8 communication

13. lt is and has been Plaintiff’s position that coverage exists under its contract
of insurance with Defendant l\/lLl\/l regarding the allegations of the PERALT/-\ complaint,
and that Defendant l\/lLl\/l’s refusal to provide a defense is a breach of contract

14. An actual and justiciable controvery exists between the parties regarding
the applicability and interpretation of the insurance contract between the parties and
applicable l\/laryland insurance law.

Prayer for Relief

WHEREFORE, Plaintiff JONATHAN S. SHURBERG, P.C., by counse|, requests
the following relief:

1.,'~ That this Court declare that Defendant l\/lLl\/l is obligated to defend and if
necessary indemnify Plaintiff against the claims of the PERALT/-\ complaint;

v _ 2._ That this Court direct Defendant l\/|l_l\/l to defend Plaintiff against the

' PERALTA complaint, and if necessary indemnify P|aintiff for any resulting liability to

PERALTA;

3.' That this Court order a speedy hearing of this action and advance it on the

trial calendar pursuant to l\/ld. Cts. & Jud. Proc. Code Ann., § 3-409(e); and
4. That this Court award Plaintiff the attorney’s fees and costs incurred in

connection with this matter as well as such other and further relief as the nature of the

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cause may require
oatei Juiy 13, 2010 Respecrruily Submitted,

JONATHAN S. SHURBERG, P.C.

  

 

‘a' .
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